12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                        Expenses Part 4 Pg 1 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                        Expenses Part 4 Pg 2 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                        Expenses Part 4 Pg 3 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                        Expenses Part 4 Pg 4 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                        Expenses Part 4 Pg 5 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                        Expenses Part 4 Pg 6 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                        Expenses Part 4 Pg 7 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                        Expenses Part 4 Pg 8 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                        Expenses Part 4 Pg 9 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                       Expenses Part 4 Pg 10 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                       Expenses Part 4 Pg 11 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                       Expenses Part 4 Pg 12 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                       Expenses Part 4 Pg 13 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                       Expenses Part 4 Pg 14 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                       Expenses Part 4 Pg 15 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                       Expenses Part 4 Pg 16 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                       Expenses Part 4 Pg 17 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                       Expenses Part 4 Pg 18 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                       Expenses Part 4 Pg 19 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                       Expenses Part 4 Pg 20 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                       Expenses Part 4 Pg 21 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                       Expenses Part 4 Pg 22 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                       Expenses Part 4 Pg 23 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                       Expenses Part 4 Pg 24 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                       Expenses Part 4 Pg 25 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                       Expenses Part 4 Pg 26 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                       Expenses Part 4 Pg 27 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                       Expenses Part 4 Pg 28 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                       Expenses Part 4 Pg 29 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                       Expenses Part 4 Pg 30 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                       Expenses Part 4 Pg 31 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                       Expenses Part 4 Pg 32 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                       Expenses Part 4 Pg 33 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                       Expenses Part 4 Pg 34 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                       Expenses Part 4 Pg 35 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                       Expenses Part 4 Pg 36 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                       Expenses Part 4 Pg 37 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                       Expenses Part 4 Pg 38 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                       Expenses Part 4 Pg 39 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                       Expenses Part 4 Pg 40 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                       Expenses Part 4 Pg 41 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                       Expenses Part 4 Pg 42 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                       Expenses Part 4 Pg 43 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                       Expenses Part 4 Pg 44 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                       Expenses Part 4 Pg 45 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                       Expenses Part 4 Pg 46 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                       Expenses Part 4 Pg 47 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                       Expenses Part 4 Pg 48 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                       Expenses Part 4 Pg 49 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                       Expenses Part 4 Pg 50 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                       Expenses Part 4 Pg 51 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                       Expenses Part 4 Pg 52 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                       Expenses Part 4 Pg 53 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                       Expenses Part 4 Pg 54 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                       Expenses Part 4 Pg 55 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                       Expenses Part 4 Pg 56 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                       Expenses Part 4 Pg 57 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                       Expenses Part 4 Pg 58 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                       Expenses Part 4 Pg 59 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                       Expenses Part 4 Pg 60 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                       Expenses Part 4 Pg 61 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                       Expenses Part 4 Pg 62 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                       Expenses Part 4 Pg 63 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                       Expenses Part 4 Pg 64 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                       Expenses Part 4 Pg 65 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                       Expenses Part 4 Pg 66 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                       Expenses Part 4 Pg 67 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                       Expenses Part 4 Pg 68 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                       Expenses Part 4 Pg 69 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                       Expenses Part 4 Pg 70 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                       Expenses Part 4 Pg 71 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                       Expenses Part 4 Pg 72 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                       Expenses Part 4 Pg 73 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                       Expenses Part 4 Pg 74 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                       Expenses Part 4 Pg 75 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                       Expenses Part 4 Pg 76 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                       Expenses Part 4 Pg 77 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                       Expenses Part 4 Pg 78 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                       Expenses Part 4 Pg 79 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                       Expenses Part 4 Pg 80 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                       Expenses Part 4 Pg 81 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                       Expenses Part 4 Pg 82 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                       Expenses Part 4 Pg 83 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                       Expenses Part 4 Pg 84 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                       Expenses Part 4 Pg 85 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                       Expenses Part 4 Pg 86 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                       Expenses Part 4 Pg 87 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                       Expenses Part 4 Pg 88 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                       Expenses Part 4 Pg 89 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                       Expenses Part 4 Pg 90 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                       Expenses Part 4 Pg 91 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                       Expenses Part 4 Pg 92 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                       Expenses Part 4 Pg 93 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                       Expenses Part 4 Pg 94 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                       Expenses Part 4 Pg 95 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                       Expenses Part 4 Pg 96 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                       Expenses Part 4 Pg 97 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                       Expenses Part 4 Pg 98 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                       Expenses Part 4 Pg 99 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                       Expenses Part 4 Pg 100 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                       Expenses Part 4 Pg 101 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                       Expenses Part 4 Pg 102 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                       Expenses Part 4 Pg 103 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                       Expenses Part 4 Pg 104 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                       Expenses Part 4 Pg 105 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                       Expenses Part 4 Pg 106 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                       Expenses Part 4 Pg 107 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                       Expenses Part 4 Pg 108 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                       Expenses Part 4 Pg 109 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                       Expenses Part 4 Pg 110 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                       Expenses Part 4 Pg 111 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                       Expenses Part 4 Pg 112 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                       Expenses Part 4 Pg 113 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                       Expenses Part 4 Pg 114 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                       Expenses Part 4 Pg 115 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                       Expenses Part 4 Pg 116 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                       Expenses Part 4 Pg 117 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                       Expenses Part 4 Pg 118 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                       Expenses Part 4 Pg 119 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                       Expenses Part 4 Pg 120 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                       Expenses Part 4 Pg 121 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                       Expenses Part 4 Pg 122 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                       Expenses Part 4 Pg 123 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                       Expenses Part 4 Pg 124 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                       Expenses Part 4 Pg 125 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                       Expenses Part 4 Pg 126 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                       Expenses Part 4 Pg 127 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                       Expenses Part 4 Pg 128 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                       Expenses Part 4 Pg 129 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                       Expenses Part 4 Pg 130 of 131
12-12020-mg   Doc 4557-7 Filed 08/07/13 Entered 08/07/13 18:28:43   Exhibit D
                       Expenses Part 4 Pg 131 of 131
